              Case 1:17-cv-04569-PGG Document 18 Filed 10/11/17 Page 1 of 2
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                                          CASEY & BARNETI, LLC                           ELECTRONiCALLY FILED
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                                             New York, New York 10007                    DATE FILED: /()                  11 I 7
MAR)'lN f. ('.AS!:.'Y"                       ·reiephone: (212) 286-0225
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• Admic1'!d in NY a11d NJ                                                                      jpk@caseyharnett.com
• "' Admit~d In NY, NJ. La Ltnd OH                                                             Direct: 646-362-8925
                                                 October 11, 2017
                                                                                MEMO ENDORSED
VIA ECF AND FACSIMILE- (212) 805-7986
Honorable Paul G. Gardephe
                                                                                                  ~ ~ .JA
                                                                                The. Appfication is· granted.

United States District Court                                                    SOORDERED:       ~ f6
Southern District of New York
40 Foley Square, Room 2204
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                                                                                Paul G. G~ndephe:U:~:O.J.
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New York, New York 10007
                                                                                Dated:    {)   tJ. (~          ~ 17
                         Re:   Hartford Fire Ins. Co. a/slo Mark fisher LLC v. Kesco Logistics, Inc.
                               Docket No. 17 CV 04569 (PGG)
                               Our ref:      464-30

Honorable Paul G. Gardephe:

        We are counsel for Plaintiff in the captioned matter and submit this joint letter in after
discussing with counsel for Defendant the statu:s of his efforts in addressing the settlement
proposal counsel previously mentioned h1 our Joint Letter Motion to Your Honor seeking a one
(1) week adjournment of the Initial Confere:n.ce which was scheduled before Your Honor on
Thursday, October 5, 2017, at 11:15 a.m. in Courtroom 705 of the Thurgood Marshall United
States Courthouse, 40 Foley Square, New York, New York. [docwnent # 15]. Your Honor
granted the joint letter motion and adjourned the Initial Conference to October 12, 2017
[document# 16].

        We have been. awaiting confirmation from Defendant's counsel confim1ing their
agreement to the proposed settlement figure both counsel have recommended aud anticipated the
confinnation would be forthcoming before the adjourned conference date. Unfortunately.
defense counsel advises getting the final confinnation has taken longer than anticipated because
there are three (3) parties involved in the discussions with the defendant- Kesco US. Kesco HK
and the insurer for Kesco. If the parties are permitted one more and final adjournment for a
week Defense counsel believe this matter wilJ be resolved. Accordingly, the parties respectfully
request that the Court adjourn the Initial Pre-trial conference foI one more week by which time
we expect the settlement can be confirmed to the Court. 111e parties will confirm the settlement
to the Court once word is rece.ived from overseas.

            The patties thank Your Honor for your kind attention to the foregoing and respectfully
request that Your Honor grant the additional one week adjournment of the Initial Conference so
the parties may confirm the settlement to the Cowt during the interim.
         Case 1:17-cv-04569-PGG Document 18 Filed 10/11/17 Page 2 of 2
Honorable Paul G. Gardcphe
United States District CClurt
Southern District of New York                                      Page2
                                         Respectfully submitted,

                                          CASEY & BARNETT, LLC
                                         c.:;2:~;i=~;L . ~,
                                          Jai:nes P. Krauzlis
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                                                       /




cc:    VIA ECF AND EMAJI,
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